                                                                                                         Case 1:03-md-01570-GBD-SN Document 9551-4 Filed 01/19/24 Page 1 of 1
                                                                                                                                                       EXHIBIT C
                                                                                                                                PUTATIVE FUNCTIONAL EQUIVALENT CLAIMANTS UNDER THE ATA

         Personal Representative                                       Claimant                                                                                9/11 Decedent                                                        Claim Information                                           Solatium Damages


Colu                                     Claimant                                             Nationality on                                                                     Nationality on   Date of                                        Amendments &                                               Prior
     First   Middle   Last    Suffix                 Middle     Claimant Last       Suffix                              First        Middle             Last          Suffix                                9/11 Site     Case    Complaint                               Relationship    Documentation             Amount       Treble
mn1                                        First                                                  9/11                                                                               9/11         Death                                           Substitutions                                            Award
                                       Maria                  Acosta                         Unknown           Paul             John          Gill                              United States     9/11/2001 NY (Other)   03-cv-               1:02-cv-01616, 26, 29,   Domestic Partner
                                                                                                                                                                                                                                              at 3282
 1                                                                                                                                                                                                                       9849                                                                                                $            -
                                       Lucy         A.        Aita                           Unknown           Paul             W.            Innella                           United States     9/11/2001 NY (WTC)     03-cv-               1:02-cv-01616, 305, at
                                                                                                                                                                                                                                              P4334                    Fiancé
 2                                                                                                                                                                                                                       9849                                                                                                $            -
                                       Anthony                Bengivenga                     Unknown           Lydia                          Bravo                             United States     9/11/2001 NY (WTC)     03-cv-               1:02-cv-01616, 26, 29,
                                                                                                                                                                                                                                              at 1864                  Fiancé
 3                                                                                                                                                                                                                       9849                                                                                                $            -
                                       Karen        M.        Carlucci                       Unknown           Peter            Christopher   Frank                             United States     9/11/2001 NY (WTC)     03-cv-               1:02-cv-01616, 77, at
                                                                                                                                                                                                                                              P2555                    Fiancé
 4                                                                                                                                                                                                                       9849                                                                                                $            -
                                       Brian        Thomas    Clendenin           Jr.                          James            Andrew        Gadiel                                              9/11/2001 NY (WTC)     03-cv-
 5                                                                                           Unknown                                                                            United States                            9849                 8679-1, at 145, 8696     Step-sibling                                          $            -
                                       Karen                  Dallavalle                     United States     Kenneth          F.            Tietjen                           United States     9/11/2001 NY (Other)   03-cv-               1:02-cv-01616, 26, 29,
                                                                                                                                                                                                                                              at 4550                  Fiancé
 6                                                                                                                                                                                                                       9849                                                                                                $            -
                                       Janice       Warner    Gadiel                                           James            Andrew        Gadiel                                              9/11/2001 NY (WTC)     03-cv-
 7                                                                                           Unknown                                                                            United States                            9849                 8679-1, at 143, 8696     Step-parent                                           $            -
                                       Annie                  Guerrero                       Unknown           Roland                         Pacheco                           United States     9/11/2001 NY (WTC)                          1:03-md-01570, 432, at
                                                                                                                                                                                                                         03-cv-               P5422, 8393-1, at 72,    Fiancé
 8                                                                                                                                                                                                                       9849                 8487                                                                           $            -
                                       Angela       M.        Gutermuth                      Unknown           Christopher      More          Dincuff                           United States     9/11/2001 NY (WTC)     03-cv-               1:02-cv-01616, 26, 29,
                                                                                                                                                                                                                                              at 3028                  Fiancé
 9                                                                                                                                                                                                                       9849                                                                                                $            -
                                       Francesca    M.        Jerez                          Unknown           Robert           D.            Cirri                  Sr.        United States     9/11/2001 NY (Other)                        1:02-cv-01616, 313, at   Step-Child
                                                                                                                                                                                                                         03-cv-               P4627, 8393-1, at 69,
10                                                                                                                                                                                                                       9849                 8487                                                                           $            -
                                       Debra        Marie     Johnson                        United States     David            J.            Williams                          United States     9/11/2001 NY (Other)                        1:02-cv-01616, 313, at   Domestic Partner
                                                                                                                                                                                                                         03-cv-               P4764, 8393-1, at 16,
11                                                                                                                                                                                                                       9849                 8487                                                                           $            -
                                       David                  Konigsberg                     Unknown           Barbara                        Etzold                            United States     9/11/2001 NY (WTC)     03-cv-               1:02-cv-01616, 313, at
                                                                                                                                                                                                                                              P4641                    Fiancé
12                                                                                                                                                                                                                       9849                                                                                                $            -
                                       Teresa       A.        Lanzisero                      Unknown           Thomas           A.            Casoria                           United States     9/11/2001 NY (Other)   03-cv-               1:02-cv-01616, 77, at
                                                                                                                                                                                                                                              P2650                    Fiancé
13                                                                                                                                                                                                                       9849                                                                                                $            -
                                       Jasmyn       Alexandra Troy                           Panama            Willie           Quincy        Troy                              United States     9/11/2001 VA                                1:02-cv-01616, 3, at     Grandchild
                                                                                                                                                                                                            (Pentagon    03-cv-               1708, 8393-1, at 1427,
14                                                                                                                                                                                                          )            9849                 8487                                                                           $            -
                                       Rachel                 Uchitel                        Unknown           Andrew                         O'Grady                           United States     9/11/2001 NY (WTC)     03-cv-               1:02-cv-01616, 26, 29,
                                                                                                                                                                                                                                              at 4054                  Fiancé
15                                                                                                                                                                                                                       9849                                                                                                $            -
                                       Daniel       A.        Walisiak                       Unknown           Susan            L.            Blair                             United States     9/11/2001 NY (WTC)     03-cv-               1:02-cv-01616, 26, 29,
                                                                                                                                                                                                                                              at 2679                  Fiancé
16                                                                                                                                                                                                                       9849                                                                                                $            -
                                       Melissa                White                          Unknown           Ryan             Ashley        Kohart                            United States     9/11/2001 NY (WTC)     03-cv-               1:03-cv-9849, HAND
                                                                                                                                                                                                                                              FILED, at P5129          Fiancé
17                                                                                                                                                                                                                       9849                                                                                                $            -




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